NOHIT (6/1/12) sfs                  UNITED STATES BANKRUPTCY COURT                    U.S. BANKRUPTCY COURT
                                             District of Oregon                        DISTRICT OF OREGON
                                                                                               FILED
In re                                          )
 Peter Szanto                                  ) Case No. 16−33185−pcm7                     August 1, 2018
                                Debtor(s)      )                                      Clerk, U.S. Bankruptcy Court
                                               )
Peter Szanto                                   ) Adv. Proc. No. 16−03114−pcm                 BY sfs DEPUTY
                                Plaintiff(s)   )
                                               )
                              v.               )
Evye Szanto                                    ) NOTICE OF HEARING
et al.                                         )
                               Defendant(s)    )
                                               )
                                               )


PLEASE TAKE NOTICE that a Trial, at which testimony will be received if offered and admissible, will be
held:

      DATE: 12/11/18               TIME: 09:30 AM

      LOCATION:      US Bankruptcy Court, Courtroom #1, 1001 SW 5th Ave, 7th Floor, Portland, OR 97204

3 Day Trial Scheduled 12/11/18 @ 9:30, 12/12/18 @ 9:00, 12/13/18 @ 9:00

 Continuances may not be granted unless the party requesting the continuance complies with the
requirements set forth in the scheduling order previously entered in the adversary proceeding.

Exhibits and trial briefs shall be handled in accordance with the scheduling order.


                                                                               Clerk, U.S. Bankruptcy Court




                                                                                                               420

                              Case 16-03114-pcm      Doc 420     Filed 08/01/18
